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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 14-MC-24887-PAS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
  _____________________________________/

          PROPOSED INTERVENORS’ MOTION TO STAY PROCEEDINGS
           PENDING APPEAL TO THE ELEVENTH CIRCUIT COURT OF
       APPEALS AND ACCOMPANYING MEMORANDUM OF LAW IN SUPPORT

         Proposed intervenors Panikos Symeou (“Symeou”) and Halliwel Assets, Inc. (“Halliwel”)

  (collectively, “Movants”) move to stay this action and the February 11, 2015 Order (the “Order”),

  (ECF 12), which granted the 28 U.S.C. §1782 application of Hornbeam Corp. (“Hornbeam”) (the

  “Application”), (ECF 1), and authorized subpoenas on 14 companies and one individual, pending:

  (1) resolution of a potentially dispositive appeal before the Eleventh Circuit Court of Appeals

  involving Movants and Hornbeam; and (2) Hornbeam paying an $846,526 British Virgin Islands

  (“BVI”) judgment which is required before a BVI court will permit it to prosecute new BVI

  proceedings, the basis for its Application. This motion should be granted for the reasons set forth

  in the Memorandum of Law below. All subpoena recipients agree to a stay of this action.

                                    MEMORANDUM OF LAW

         Applicant Hornbeam has filed four §1782 applications across the country in purported

  support of a new action it purports to file in the BVI, where its claims already were dismissed with

  prejudice with a costs judgment entered. Movants have appealed the denial of a motion to vacate

  a §1782 order entered in the Northern District of Alabama to the Eleventh Circuit Court of Appeals

  (the “Eleventh Circuit Appeal”). There, Movants have raised the same issues that they will raise

  in seeking to vacate the Order here, including that the future BVI actions are not reasonably

  contemplated for purposes of §1782 because Hornbeam has failed to pay the $846,526 BVI
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  judgment. Notably, the Eleventh Circuit stayed all § 1782 discovery in the Northern District of

  Alabama pending the Appeal.

            The limited stay here will conserve judicial and party resources as the Eleventh Circuit

  Appeal involves identical parties and likely will be dispositive of, or otherwise moot, issues which

  will be litigated in the instant action. The appeal is briefed and was scheduled for oral argument

  during the week of June 6, 2016, but will now be reassigned at a later date.1 The requested stay,

  which will be of limited duration, will not prejudice Hornbeam, which did not serve the subpoenas

  until March 3, 2016, almost thirteen months after entry of the Order, and which has not paid the

  $846,526 BVI judgment which it must pay before a BVI court will permit it to prosecute the action

  for which it claims it needs the instant §1782 discovery.

                                   PRELIMINARY STATEMENT

            In August 2014, Hornbeam, a shareholder of Movant Halliwel, a BVI company, filed

  “unfair prejudice” (shareholder abuse) claims against Movants and Marigold Trust Asset

  Management (“Marigold”) in the BVI related to the management of Halliwel’s wholly owned

  subsidiary, Warren Steel Holdings, LLC (“Warren Steel”), a Delaware company that owns a since-

  closed steel plant in Warren, Ohio. Hornbeam’s ex parte Memorandum of Law In Support of Its

  Application, (“Memorandum”) (ECF 4), failed to disclose, inter alia, that: (1) in October 2014, its

  BVI proceedings were dismissed as “an abuse”; (2) in December 2014, the BVI court ordered

  Hornbeam to pay $846,526 in costs and attorneys’ fees by February 2, 2015; and (3) Hornbeam

  must pay the still unpaid BVI judgment before it can prosecute new BVI proceedings on these

  issues.



  1
    The Eleventh Circuit Appeal is styled Halliwel Assets, Inc., et al v. Bracha Foundation, Case
  No, 15-14913. On April 5, 2016, the Eleventh Circuit issued a notice removing the case from
  Calendar Number 22, noting it would be reassigned at a later date. We will advise the Court when
  the date is set.
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         Despite this BVI decision, beginning in December 2014, Hornbeam and related party

  Bracha Foundation (“Bracha”) filed ex parte applications pursuant to 28 U.S.C. § 1782 in this and

  four other federal districts across the country, to obtain discovery purportedly to support new

  “unfair prejudice” claims in the BVI.     Yet, belying the notion that Hornbeam intended to sue in

  the BVI where it would be required to pay the BVI judgment, in June 2015, Bracha and its

  purported beneficiary Vadim Shulman (“Shulman”) filed a suit that Hornbeam later joined in Ohio

  state court (the “Ohio Action”) which asserted the same claims (under Ohio labels) for the same

  damages against the same defendants that Bracha and Hornbeam told this and four other federal

  district courts would be brought in the BVI. On October 22, 2015, the Ohio trial court dismissed

  these claims. On November 23, 2015, Hornbeam appealed (the “Ohio Appeal”). Oral argument

  is scheduled for May 18, 2016.

         Meanwhile, in September 2015, in the midst of the Ohio Action, Bracha served a subpoena

  on Regions Bank in Alabama to obtain, inter alia, Warren Steel’s bank records which had been

  authorized by an Alabama federal court on May 9, 2015, based on a §1782 application filed on

  May 1, 2015 that had been concealed from Movants. In October 2015, the Alabama court

  permitted Movants to intervene and substantially narrowed the discovery but did not vacate its

  order allowing the discovery. In November 2015, Movants appealed, and the Eleventh Circuit

  Court of Appeals stayed discovery pending appeal. Hornbeam later obtained an order from

  expediting the Eleventh Circuit Appeal. As noted, oral argument is scheduled for the week of June

  6, 2016.

             Hornbeam has refused Movants’ request to stay this proceeding pending resolution of the

  Eleventh Circuit Appeal and payment of the BVI judgment, necessitating this motion, which

  should be granted:

         First, this action should be stayed pending the Eleventh Circuit Appeal. Movants and

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  Hornbeam are parties to the Eleventh Circuit Appeal, and the Eleventh Circuit’s decision may be

  dispositive of or otherwise moot this proceeding or issues that will need to be litigated here. A

  stay will promote judicial economy and prevent unnecessary expenditure of resources by the

  parties and the fifteen subpoena recipients.

         Second, this action should be stayed until Hornbeam pays the $846,526 BVI judgment

  which a BVI court would require before permitting Hornbeam to prosecute new BVI proceedings.

  It would be unfair to subject Movants and the 13 subpoena recipients to the time, effort, and

  expense of discovery for Hornbeam to purportedly use to sue in the BVI, until Hornbeam pays the

  BVI judgment -- which is entirely within Hornbeam’s control and need not implicate any delay

  whatsoever.

         Third, a stay will not prejudice Hornbeam because the Eleventh Circuit stayed the Alabama

  discovery, which Hornbeam has represented is necessary before filing the same new BVI

  proceedings that underlie this §1782 discovery action. In any case, Hornbeam cannot claim

  prejudice where it waited almost thirteen months to serve the subpoenas authorized in February

  2015. In addition, the alleged “reasonably contemplated” litigation by Shulman, or “one of his

  entities to which he is the ultimate beneficial owner” in jurisdictions “currently unknown,”

  referenced in the Memorandum, (ECF 4 at 1-2), does not alter the analysis because Hornbeam

  lacks standing to seek discovery for Shulman or his entities, such as Bracha, who should file their

  own §1782 applications if they wish to bring claims, which Movants will oppose in due course.2




  2
    See RTI Ltd. v. Aldi Marine Ltd., 523 F. App’x 750, 751 (2d Cir. 2013) (affirming denial of a
  §1782 application because the applicant “ha[d] not shown that it enjoy[ed] significant participation
  rights, but instead that its sister corporations d[id].”); Fortress Inv. Grp., 2014 U.S. Dist. LEXIS
  95578, *7 (S.D.N.Y. July 9, 2014) (denying discovery) (“[P]etitioners are not interested. . . .
  [because they] do not have any existing role in those proceedings and have failed to demonstrate
  that they have a right to submit evidence to the foreign tribunals in question.”)
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                          RELEVANT FACTS AND BACKGROUND3

         In 2001, entities of Ukrainian Shulman purchased a closed steel factory in Warren, Ohio

  (the “Plant”). Shulman Dec. ¶ 12-15, ECF 4-1 at 6. In November 2007, ownership of the Plant

  was transferred to Warren Steel, a Delaware limited liability company. Shulman Dec. ¶ 14-15,

  ECF 4-1 at 6. In April 2008, Warren Steel’s ownership was transferred to Halliwel, a BVI

  company. Halliwel is Warren Steel’s sole member. Shulman Dec. ¶21, ECF 4-1 at 7. Halliwel’s

  three equal registered shareholders are Hornbeam, a Panamanian company now in dissolution (for

  Bracha, a Lichtenstein trust, and/or Shulman, its beneficiary), Symeou, a Cyprus attorney (for

  Ukrainian Igor Kolomoisky), and Marigold, a Jersey, Channel Islands trust (for Ukrainian

  Gennady Bogolubov). Campanile Dec. ¶61, ECF 4-2. Symeou is Halliwel’s sole director.

  Campanile Dec. ¶59, ECF 4-2.

         A.      Operation of the Plant

         In 2006, a Kolomoisky-controlled entity opened a $90 million line of credit for the benefit

  of Warren Steel. Shulman Dec. ¶ 16-17, ECF 4-1 at 6-7. In 2007, Mordecai Korf (“Korf”), a

  Florida resident, was appointed president of Warren Steel. Korf Aff. ¶1, ECF 4-4 at 41. From

  2008, companies associated with Kolomoisky, Bogolubov and/or Korf provided over $106 million

  of additional financing. Campanile Dec. ¶ 9-10, ECF 4-2. Shulman knew of this and never

  complained. Shulman’s consultants were permitted to review Warren Steel’s books and records

  in 2012, 2013 and 2014, and were provided over 20,000 pages of detailed backup in 2014.

  Shulman Aff. ¶19, ECF 4-3 at 44; Campanile Dec. ¶79-88, 101, ECF 4-2.

         B.      The 2014 Loans

         Due to deteriorating finances, the Plant closed in March 2014. Korf oversaw negotiations


  3
   “Ex. []” are exhibits to the Bruce S. Marks Declaration, “Ex. N-[]” are exhibits to the BVI legal
  expert Robert Nader Declaration, and “Ex. W-[]” are exhibits to the BVI legal expert Andrew
  Willins Declaration.
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  to restart the Plant. Twenty-five million dollars of new financing was required. Once again,

  companies related to Kolomoisky, Bogolubov, and/or Korf provided the new financing and prior

  loans because no third party would lend. Korf Aff. ¶5.4, ECF 4-4 at 43. Symeou approved new

  financing as Halliwel’s sole director on August 1, 2014. Korf Aff. ¶6, 6.1 ECF 4-4 at 46; Symeou

  Aff. ¶8, ECF 4-4 at 36. Although not legally required, it was determined that Halliwel’s

  shareholders should approve the new financing through an extraordinary general meeting

  (“EGM”). Shulman was notified of the EGM on August 1, 2015. His agents requested that it be

  postponed several times. Campanile Dec. ¶100, 104, ECF 4-2.

                         HORNBEAM’S FAILED BVI PROCEEDINGS

         On August 29, 2014, Hornbeam filed an ex parte application to enjoin the EGM. An

  injunction was granted and continued to October 13, 2014. On September 15, 2014, Hornbeam

  filed its statement of claims for “unfair prejudice” under §184I of the BVI Business Companies

  Act, 2004 (the “BVI Act”). Claim, Ex. 10. On October 10, 2014, Hornbeam filed applications to

  appoint a provisional liquidator and to liquidate Halliwel. Fay Dec. ¶8f-h, ECF 4-1 at 14. Contrary

  to the Memorandum, ECF 4 at 9, Hornbeam did not withdraw the BVI proceedings because of

  “inadequate disclosure.” At the October 13, 2014, hearing, Hornbeam abandoned its injunction,

  and the BVI court rejected the provisional liquidator application on the merits, holding that:

         . . . this is an abuse of winding up procedure designed to supplant the control,
         which the majority shareholders are currently exercising over this company’s
         affairs, that’s my view. And I don’t think that’s a legitimate use of the Court’s
         equitable jurisdiction to wind up companies which are in distress.

  Transcript, pp.172-73, Ex. 1 (emphasis added).

         By orders dated November 4, 2014, the BVI court memorialized its oral decisions

  dismissing the injunction application, §184I statement of claim, and provisional liquidator

  application. BVI Orders, Ex. 2. By order dated November 27, 2014, the liquidator application

  was withdrawn. BVI Order, Ex. 3. On December 18, 2015, the BVI court ordered Hornbeam to
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  pay $846,526 in costs and attorneys’ fees to Halliwel, Symeou, and Marigold by February 2, 2015.

  BVI Judgment, Ex. 4.

                               BVI EXECUTION PROCEEDINGS

         In December 2014, Hornbeam purported to transfer its Halliwel shares to Bracha (even

  though Hornbeam remained Halliwel’s registered shareholder), and filed for dissolution in

  Panama. Dissolution, Ex. 30. In March 2015, Halliwel, Symeou, and Marigold brought execution

  proceedings to enforce the $846,526 judgment against Hornbeam’s Halliwel shares. On August

  14, 2015, the BVI court placed a provisional charge (i.e., lien) on them. Bracha intervened. Bracha

  and Hornbeam served objections contesting the provisional charge. If their objections are denied,

  the BVI court will put Hornbeam’s shares to sale. If Hornbeam ceases to be a registered

  shareholder of Halliwel, it will no longer have standing to bring §184I claims. Nader Dec. ¶42-

  43.

                     HORNBEAM’S CONCEALED §1782 PROCEEDINGS

         Beginning in December 2014, despite purporting to transfer its shares, Hornbeam filed

  applications pursuant to 28 U.S.C. §1782 in Delaware, Florida, New York, and Ohio purportedly

  to obtain discovery “for use” in future proceedings in the BVI against Halliwel, Symeou, Marigold,

  Kolomoisky, and Bogolubov. DE, NY, Ohio Applications, Ex. 22, 23, 5; Del, NY, Ohio Orders,

  Exs. 6, 8, 11. Hornbeam did not serve its applications and the orders granting them on the parties

  with which it had been litigating. Their existence was discovered only by happenstance by

  Attorney Bruce S. Marks in May 2015. Marks Dec. ¶ 4.

         New York: On June 8, 2015, in response to a letter from Symeou’s counsel, Hornbeam’s

  attorney (James H. Power) disclosed that subpoenas had been served secretly and discovery

  obtained from numerous banks in New York, although subpoenas authorized in other districts had

  not been served. Power Letter, Ex. 12. On July 17, 2015, Symeou moved to intervene and vacate

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  the §1782 order in the New York court. Marks Dec. ¶6. On September 17, 2015, the New York

  court found that Hornbeam had violated Rule 45 by secretly serving the subpoenas and receiving

  discovery without notice, but did not vacate the Order. NY Opinion at 9, 12, Ex. 9. No appeal

  has been taken because Symeou’s Rule 60(b) motion for relief from the September 17, 2015 order

  is pending. Marks Dec. ¶6.

         Ohio:    On January 6, 2015, the Ohio court granted Hornbeam’s ex parte application.

  Order, Ex. 6.   Hornbeam did not serve the authorized subpoenas on Warren Steel until February

  and March 2016. Marks Dec. ¶12. Hornbeam has not served the other authorized subpoenas.

  Marks Dec. ¶13. On March 17, 2016, the Court granted Movants’ unopposed motion to intervene.

  On March 28, 2016, Movants moved to stay the Ohio proceedings pending resolution of the Ohio

  Appeal and payment of the BVI judgment. Ohio Stay Motion, Ex. 31. Movants also moved to

  vacate the Ohio order. Ohio Motion to Vacate, Ex. 32.

         Delaware: On May 4, 2015, the Delaware court granted Hornbeam’s ex parte application.

  Order, Ex. 6. To Movants’ knowledge, Hornbeam has not served the authorized subpoenas. Marks

  Dec.¶15.

                                      THE OHIO ACTION

         On June 15, 2015, Bracha and Shulman (alleged beneficiaries of Hornbeam’s interest in

  Halliwel) filed suit against Halliwel, Symeou, Warren Steel, Korf, Bogolubov, and Kolomoisky in

  Ohio state court, using information obtained from the New York §1782 proceeding.4 Bracha and

  Shulman alleged the same shareholder abuse claims against the same defendants for the same

  damages that their five §1782 applications said would be filed in the BVI. See Complaint, Ex. 13.



  4
    See Bracha/Shulman attorney Campanile Ohio Aff. dated June 11, 2015 at 164 (“other than the
  existence of Warren Steel bank accounts not previously identified by Symeou no information
  whatsoever received [form the New York §172 discovery] will be used in this [Ohio] Proceeding
  in support of the accounting and injunction.”) Ex. 20.
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  Bracha and Shulman amended their complaint to add Hornbeam as a plaintiff, see Amended

  Complaint, Ex. 17, and Hornbeam filed an identical companion complaint. See Hornbeam

  Complaint, Ex. 18.

         On October 22, 2015, the Ohio Court dismissed the cases (the “Ohio Decision”), Ex. 28,

  concluding that the “internal affairs doctrine” required dismissal of all claims. The Ohio Court

  found that “[u]nder the internal affairs doctrine, the law of the jurisdiction in which the corporation

  was incorporated governs whether a claim is ‘derivative’ or ‘direct.’” Ohio Decision, at 6. The

  Ohio Court applied BVI law and found Bracha and Shulman lacked standing to sue under BVI law

  because they were not registered shareholders of Halliwel, affirming the earlier Magistrate

  Judge’s decision, Ex. 14.     Ohio Decision at 3. The Ohio Court then found the claims to be

  derivative in nature under BVI law because they sought damages to Warren Steel for alleged self-

  dealing. The Ohio Court observed that, under BVI law, a derivative claim may be commenced

  only after obtaining the BVI High Court’s pre-approval. Alternatively, to the extent the allegations

  could be considered direct “unfair prejudice” claims under BVI law, its laws requires that they be

  brought in the BVI High Court. Ohio Decision, at 6-8. The Ohio Court dismissed the damages

  claims because the plaintiffs had not obtained the BVI Court’s permission to bring the derivative

  action, and therefore lacked standing, or had brought them in the wrong court. Id. at 8. The Ohio

  Court also dismissed for forum non conveniens to the BVI. Id. at 12-14.          Hornbeam appealed,

  and oral argument is scheduled for May 18, 2016. Marks Dec. ¶15.

                          BRACHA’S ALABAMA §1782 PROCEEDING

         On May 1, 2015, Bracha filed an ex parte application to serve a subpoena on Regions Bank

  to obtain discovery of bank records of Warren Steel and records related to the instant subpoena

  recipients. Ala. Application, Ex. 24. The court granted it on May 9, 2015. Order, Ex. 25. On

  September 8, 2015, Bracha’s Alabama counsel served a copy of the subpoena on Ohio counsel for

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   Halliwel and Symeou. Letter, Ex. 19. This was the first disclosure of the Alabama action to

   Movants.5 After Halliwel and Symeou intervened and moved to vacate; Hornbeam intervened as

   well and adopted Bracha’s application, recognizing Bracha lacked standing to sue in the BVI based

   on the Ohio Magistrate’s Decision, Ex. 14 (which the Ohio Court later adopted in full).        The

   Alabama court found that Hornbeam “would first have to pay the large BVI cost judgment” before

   proceeding there, but noted that because of “the extraordinary wealth of Shulman” the judgment

   could be paid. Id. at *11. The Alabama court substantially limited the authorized discovery to

   bank records of Warren Steel only, but did not vacate the order. Ala. Opinion at 10, Ex. 26.

          After Movants appealed, the Eleventh Circuit stayed the order authorizing discovery,

   pending appeal. Stay Order, Ex. 27. At Hornbeam’s request, the Eleventh Circuit expedited

   consideration of the appeal and oral argument is scheduled for the week of June 6, 2016. Marks

   Dec. ¶9. The discovery stay remains in effect. The Alabama Appeal includes arguments that the

   order should have been vacated and §1782 application denied because (1) future BVI proceedings

   are not within reasonable contemplation—in part because the BVI judgment remains unpaid; (2)

   §1782 and the Federal Rules of Civil Procedure do not permit the type of broad pre-filing discovery

   that the Alabama court permitted, and (3) the internal affairs doctrine and international comity

   preclude such discovery. See Alabama Opening Brief, Ex. 33. Movants will advance similar

   arguments in their anticipated motion to vacate the Order and deny the Application.

                               THE INSTANT §1782 PROCEEDING

          In December 2014, along with its other applications, Hornbeam filed its ex parte

   application in this Court to obtain discovery ostensibly for use in future “unfair prejudice”


   5
    In July 2015, Attorney Marks asked Hornbeam’s attorney (Power) whether there were “any other
   §1782 applications [other than New York, Alabama, and Ohio] which Hornbeam (or any related
   entity such as Bracha Foundation or Vadim Shulman) has filed … and any orders obtained
   pursuant to such applications.” Letter, Ex. 15. Attorney Power’s response concealed the Alabama
   action’s existence. Email, Ex. 21.
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   litigation in the BVI against, inter alia, Movants, Marigold, Kolomoisky, and Bogolubov. See ECF

   4. An ex parte hearing was held on February 10, 2015, but the court reporter refuses to provide

   the transcript to Movants because the hearing was deemed sealed and the Movants are not yet

   parties. Thus, Movants are not aware of what Hornbeam told the Court. The Court granted

   Hornbeam’s application on February 11, 2015, authorizing it to serve subpoenas on fifteen persons

   and entities. See ECF 12.

          Hornbeam did not serve the subpoenas until March 3, 2016 – almost thirteen months later,

   Ex. 34. The 13 served document subpoenas seek a vast number of documents, most without any

   time limitation, and the one that is “limited” in time seeks a decade’s worth of documents from

   January 1, 2006 to date, including communications, corporate, financial and accounting records

   concerning Warren Steel. The 13 served deposition subpoenas seek depositions of Korf and Rule

   30(b)(6) designees of 12 entities on a broad array of topics, from January 1, 2006 to date, including:

          1. The subpoena recipient’s corporate structure;

          2. The subpoena recipient’s financial records concerning Warren Steel;

          3. The subpoena recipient’s business transactions with Warren Steel, including the source
             of each loan’s origination and the account from which each loan was made;

          4. Warren Steel’s document retention policies; and

          5. The subpoena recipient’s communications and relationships with 12 “Related Party




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              Lenders”, 6 33 “Related Entities”, 7 and 12 “Related Individuals”. 8

                                             ARGUMENT

          “The District Court has broad discretion to stay proceedings as an incident to its power to

   control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). “The power to stay

   proceedings is incidental to the power inherent in every court to control the disposition of the

   causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”

   Landis v. N. Am. Co., 299 U.S. 248, 254, 57 S. Ct. 163, 81 L. Ed. 153 (1936). See Advanced

   Bodycare Solutions, LLC v. Thione Int'l, Inc., 524 F.3d 1235, 1241 (11th Cir. 2008) (“[D]istrict

   courts have inherent, discretionary authority to issue stays in many circumstances”).9    As this

   Court has explained, “[t]he broad authority to grant a stay extends to 28 U.S.C. § 1782



   6
    The 12 Related Party Lenders are: Divot Enterprises Limited; 5251 36th Street LLC; CC Metal
   and Alloys LLC; Felman Trading, Inc.; Mordechai Korf, a/k/a Motti Korf; Optima Acquisitions,
   LLC; Optima Fixed Income LLC; Optima Group LLC; Optima International of Miami, Inc.;
   Optima Ventures, LLC; Querella Holdings Limited; and Felman Production, LLC.
   7
    The 33 Related Entities are: Kentucky Electric Steel; Felman Trading Inc.; Felman Production
   Inc.; Raytrans Management LLC; CC Metals & Alloys LLC; Optima Ventures LLC; Optima
   Acquisitions LLC; Optima International of Miami, Inc.; Optima Group LLC; Optima Fixed
   Income LLC; Querella Holdings Limited; Optima Industrial Management LLC; Optima Highland
   LLC; Georgian American Alloys Inc.; Optima Specialty Steel, Inc.; Divot Enterprises Limited;
   Marigold Trust Company Limited; Divot Enterprises Limited; 5251 36th Street LLC; Hornbeam
   Corporation; Tectum Trust Management Establishment; Instrad Limited; Plama Limited; Bracha
   Foundation; Marigold Trust Company Limited; Divot Enterprises Limited; Intertrading a/k/a ZAO
   Privat Intertrading; Privat Group; Haftseek Investments Ltd.; GM Georgian Manganese Holdings
   Ltd.; Georgian Manganese, LLC; Optima Industrial Management, LLC; and Vartsikhe 2005, LLC.

   8
      The 12 Related Individuals are: Vadim Shulman; Verena Ernst; Ronny Pifko; Fabrizio
   Campanile; Neophistos Savvides; Mordechai Korf; Panikos Symeou; Artemis Mildoni; Christou
   Thanos; Timur Novikov; Igor Kolomoisky; and Genady Bogolubov.
   9
     Accord Velarde v. HSBC Private Bank Int'l, No. 13-22031-CIV, 2013 WL 5534305, at *7 (S.D.
   Fla. Oct. 7, 2013) (“A district court is empowered to stay its own proceedings.”); Republic of
   Venez. v. Philip Morris Cos., Inc., No. 99-0586-Civ, 1999 WL 33911677, at *1 (S.D. Fla. April
   28, 1999) (court’s discretion to stay its proceedings “is derived from and incidental to a court’s
   inherent power to control the disposition of cases on its docket and ensure a 'fair and efficient'
   adjudication of matters.”)
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   proceedings.” In re Alves Braga, 789 F. Supp. 2d 1294, 1307-08 (S.D. Fla. 2011) (citations

   omitted); accord In re Noboa, Misc. Nos. M18-302, M19-111, 1995 WL 581713, at *3 (S.D.N.Y.

   Oct. 4, 1995) (staying the “taking of . . . depositions” under § 1782).

          “A stay sometimes is authorized simply as a means of controlling the district court’s docket

   and of managing cases before the district court.” Ortega Trujillo v. Conover & Co. Comms., Inc.,

   221 F.3d 1262, 1264 (11th Cir. 2000). As this Court recently recognized, “[s]tays of proceedings

   can also promote judicial economy, reduce confusion and prejudice, and prevent possibly

   inconsistent resolutions.” Lopez v. Miami-Dade Cnty., No. 15-CIV-22943, 2015 WL 7202905, at

   *1 (S.D. Fla. Nov. 6, 2015). In assessing the propriety of a stay, courts look at various factors

   depending upon the reason for the stay.

          “Stays may be used to further the foundational principle of avoiding duplicative litigation.”

   Campbell v. Citibank, NA, 2014 U.S. Dist. LEXIS 92540 (N.D. Ohio July 8, 2014) (granting stay,

   citing In re Am. Med. Sys., Inc., 75 F.3d 1069, 1088 (6th Cir. 1996)). As Am Med. court stated,

   “[t]he waste of judicial resources due to duplicative proceedings is plain and not correctable on

   appeal.” Id. at 1088. Stays are also appropriate based on “the potentiality of another case having

   a dispositive effect on the case to be stayed” and implicate “the judicial economy to be saved by

   waiting on a dispositive decision, the public welfare, and the hardship/prejudice to the party

   opposing the stay, given its duration." Schartel v. OneSource Tech., LLC, 2015 U.S. Dist. LEXIS

   155967 (N.D. Ohio Nov. 17, 2015) (granting stay). This Court often has granted stays of §1782

   proceedings, considering “(1) international comity; (2) fairness to litigants; and (3) judicial

   efficiency.” In re Pinchuk, 2014 U.S. Dist. LEXIS 43686 (S.D. Fla. Mar. 31, 2014) (stay pending

   rulings in Cyprus proceedings) citing In re Braga, 789 F. Supp. 2d at 1307-08 (stay pending

   resolution of Brazil and Cayman Islands proceedings).

          This Court should stay this proceeding pending resolution of the Eleventh Circuit Appeal,

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   and, further, until Hornbeam pays the $846,526 BVI judgment.

   I.     THE PROCEEDING AND ORDER SHOULD BE STAYED PENDING THE
          ELEVENTH CIRCUIT APPEAL

           A.     The Eleventh Circuit Appeal May Have a Dispositive Effect on This Action
          Stays may be granted when the result of another action may be “directly relevant” to the

   pending action. See Schartel, supra, 2015 U.S. Dist. LEXIS 155967, *4 (granting stay, applying

   “directly relevant” standard). When a decision in another case “has the potential to be completely

   dispositive, [this] factor weighs quite heavily in favor of a stay.” Michael v. Ghee, 325 F.Supp.2d

   829, 832 (N.D. Ohio 2004).

           In light of the Eleventh Circuit Appeal, which has been expedited and scheduled for oral

   argument in June 2016, a stay will promote judicial economy, fairness, and avoid potentially

   inconsistent results because dispositive issues in this case—whether Hornbeam reasonably

   contemplates future proceedings in the BVI, whether it is entitled to the broad pre-filing discovery

   it seeks under § 1782 and the Federal Rules of Civil Procedure (especially when it was used

   without permission in the Ohio domestic proceeding), and whether the internal affairs doctrine or

   comity considerations limit the Court’s exercise of jurisdiction—are before the Eleventh Circuit.

   The decision on the first issue may control the outcome here, since it would determine whether

   §1782 even is available to Hornbeam. If Hornbeam prevails on that issue, the decision on the

   second and third issues likely would provide guidance to this Court as to the appropriate scope of

   the §1782 discovery that Hornbeam seeks and the Court’s jurisdiction to entertain the Application.

          Importantly, when the Eleventh Circuit evaluated Halliwel’s motion for a stay pending the

   Eleventh Circuit Appeal, it considered “‘(1) whether the stay applicant . . . made a strong showing

   that he is likely to succeed on the merits; (2) whether the applicant [would] be irreparably injured

   absent a stay; (3) whether issuance of the stay [would] substantially injure the other parties

   interested in the proceeding; and (4) where the public interest lies.’” Nken v. Holder, 556 U.S. 418,
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   432 (2009). By granting the motion to stay, the Eleventh Circuit appears to have concluded that

   Movants likely were to succeed on the merits. Thus, it is reasonable to believe that the Eleventh

   Circuit Appeal may be dispositive of, or at least greatly affect, this §1782 action.

           B.     Judicial Economy and Efficiency Favor A Stay
          Judicial economy and efficiency both favor a stay because if the Eleventh Circuit rules in

   Movants’ favor, as explained above, this may “negate the need for this Court to delve into the vast

   majority of the legal issues presented in those filings. It makes little sense to undertake the

   herculean task of plodding through the motions when one decision … could invalidate the entire

   case.” Michael, 325 F.Supp.2d at 833. As in Michael, “this factor weighs heavily in favor of a

   stay.” Id. Even if the Eleventh Circuit fails to rule in Movants’ favor, it may be dispositive of the

   same issues here. Either way, it makes little sense for this Court to address these issues now as

   the Eleventh Circuit Appeal is about to be heard.

           C.     Fairness to Litigants Favors a Stay10

                  1.      A Stay Is Fair To Movants and the Subpoena Recipients
          First, substantial and time-consuming document production and deposition may be

   unwarranted if the Eleventh Circuit Appeal either forecloses or restricts §1782 discovery. This


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      While the public interest is not listed as a factor in considering stays in this Circuit, the public
   interest also favors a stay here because litigants should be discouraged from filing duplicative
   proceedings and forum-shopping. See Am. Med, 75 F.3d at 1069; Higgins v. BAC Home Loans
   Servicing, LP, 2012 U.S. Dist. LEXIS 154628 (E.D. Ky. 2012) (granting stay, “[t]he public interest
   is served by conserving judicial time and resources in the face of duplicative proceedings”); In re
   Kreke Immobilien, 2013 WL 5966916, at 6 (S.D.N.Y. Nov. 8, 2013) (“[W]e are loath[e] to sanction
   forum shopping under the guise of § 1782.”). Although Hornbeam filed this Florida discovery
   action before the Alabama federal and Ohio state court proceedings, it proceeded to decisions in
   those cases before even serving the Florida subpoenas on March 3, 2016. Hornbeam is hedging
   its bets, waiting to serve subpoenas in this action until after the Eleventh Circuit stayed the
   Alabama discovery, and five months after the Ohio Action was dismissed, while prosecuting its
   Ohio Appeal. The public interest is not served by Hornbeam consuming judicial resources in
   Alabama, Delaware, Florida, New York, and Ohio federal and state courts, and imposing the
   burden of six proceedings on Movants, of which the five §1782 proceedings may be mooted if
   Movants prevail in the Eleventh Circuit Appeal.
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   Court should not require Movants to face the significant and potentially unnecessary time and

   expense of participating in discovery before the Eleventh Circuit Appeal is decided. This Court

   should also consider the “special protection against the time and expense of complying with

   subpoenas” on the non-party subpoena recipients whose time consuming production may be

   mooted. Beinin v. Ctr. for Study of Popular Culture, No. C 06-2298 JW (RS), 2007 WL 832962,

   at *2 (N.D. Cal. 2007).11

           Second, if the Eleventh Circuit determines that litigation in the BVI is not reasonably

   contemplated or that Hornbeam is not entitled to the pre-filing discovery it seeks, there will be no

   effective way to remedy the costs of compliance. Nor, will the subpoena recipients have any

   effective remedy for the disclosure of sensitive or confidential information other than a stay of

   discovery pending appeal. “[I]rreparable harm. . . lies in the fact that ‘[o]nce the documents are

   surrendered pursuant to the lower court’s order, confidentiality will be lost for all time. The status

   quo could never be restored.’” Ctr. for Int’l Envtl. Law v. Office of U.S. Trade Representative,

   240 F. Supp. 2d 21, 23 (D.D.C. 2003) (granting stay pending appeal and quoting Providence

   Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979)).

           Finally, given the stay in the Eleventh Circuit Appeal, it appears that the Circuit concluded

   discovery would irreparably harm Movants because of the difficulty of undoing it. This applies

   instantly as well.

                   2.     A Stay Will Impose No Prejudice on Hornbeam
           First, Hornbeam made clear in Alabama that it only “plans to initiate [litigation in the BVI]

   after obtaining sufficient discovery to support its claims,” and that the discovery it seeks in


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     See also Englar v. 41B Dist. Ct., No. 04-CV-73977, 2009 U.S. Dist. LEXIS 100949, at *16 (E.D.
   Mich. Oct. 29, 2009) (status as a non-party weighs in favor of a finding of undue burden); Whitlow
   v. Martin, No. 04-CV-3211, 2009 WL 3381013, *4 (C.D. Ill. 2009) (“Non-party status is a
   significant factor to be considered in determining whether the burden imposed by a subpoena is
   undue.”).
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   Alabama “is both relevant and crucial . . . prior to initiating further litigation in the BVI or

   elsewhere.” See Bracha’s § 1782 Application, Ex. 7 (Hornbeam asserted in its Alabama Motion

   to Intervene that it should be treated “interchangeably” with Bracha thereby adopting Bracha’s §

   1782 Application.) In short, Hornbeam represented that it cannot (or will not) file a new suit in

   the BVI until it receives discovery in Alabama. Because the Eleventh Circuit has stayed that

   discovery, Hornbeam cannot be prejudiced by a stay here, given it is judicially estopped from

   changing the position it took to justify discovery in Alabama.

           Second, Hornbeam cannot argue that a delay would be prejudicial, given that it waited for

   more than one year to serve any subpoenas, despite being authorized to do so in in February 2015.

   Oral argument is scheduled in June 2016 in the Eleventh Circuit, and decision can be expected

   promptly thereafter. Hornbeam surely can wait a short while longer for a decision in the Eleventh

   Circuit Appeal. Cf. Michael, 325 F.Supp.2d at 833 (finding no prejudice exists when “delay from

   a stay will be, in all likelihood, less than a year”).

           Third, Hornbeam cannot argue prejudice because it has not paid the $846,526 BVI

   judgment, a prerequisite to prosecuting new BVI claims, which is within its sole control and can

   be paid at any time without further delay.

           Finally, given the stay in the Eleventh Circuit Appeal, it appears that the Circuit concluded

   a stay would not harm Bracha or Hornbeam. This applies instantly as well.

   II.     THE PROCEEDING AND ORDER SHOULD BE STAYED UNTIL HORNBEAM
           PAYS THE $846,526 BVI JUDGMENT
           Courts addressing §1782 stays consider “(1) international comity; (2) fairness to litigants;

   and (3) judicial efficiency.” Pinchuk, supra, 2014 U.S. Dist. LEXIS 43686, *8.          Each factor

   strongly supports a stay until Hornbeam pays the BVI judgment.

            A.     International Comity Favors a Stay
           The BVI court ordered Hornbeam to pay the $846,526 judgment by February 2, 2015, but

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   Hornbeam still has not done so – more than a year later, requiring Halliwel, Symeou, and Marigold

   to initiate execution proceedings in the BVI. See Nader Dec., ¶33. In the New York and Alabama

   §1782 proceedings, Hornbeam did not dispute that it cannot prosecute new BVI law §184I “unfair

   prejudice” claims until after it pays the $846,526 judgment. See Alabama Decision at 8-9

   (Hornbeam “would first have to pay the large BVI cost judgment” before proceeding); Nader Dec.

   ¶56-59.    Recognizing the BVI’s policy that its judgments should be paid would further

   international comity and respect for foreign tribunals. See Kahrs v. Rio Verde Energy Corp., 604

   F. Supp. 877 (S.D. Ohio 1985) (granting full faith and credit based on comity principles to United

   Kingdom money decree). Imposing the burden of discovery on Movants and the thirteen subpoena

   recipients before Hornbeam pays that judgment turns notions of comity on their head, given that

   Hornbeam cannot use §1782 discovery in the BVI until after it pays what it owes.

             B.   Fairness to Litigants Favors a Stay
          Fairness to Movants and the subpoena recipients also dictates Hornbeam pay its judgment

   before imposing new expense on the Movants and burden and expenses on the third-party

   subpoena targets. Hornbeam would not suffer prejudice if this proceeding is stayed pending its

   payment of the BVI judgment, because all Hornbeam need do is pay the BVI judgment that it owes

   and that it must pay if it wishes to use the §1782 discovery in the BVI. The payment of that

   judgment is entirely within its control and can occur immediately. Similarly, Hornbeam cannot

   be heard to complain about prejudice in connection with actions which may be filed by Shulman

   or Bracha in jurisdictions that Hornbeam admits are “currently unknown.” If Shulman or Bracha

   wish discovery, they should file their own applications.

             C.   Judicial Efficiency Favors a Stay
          Judicial efficiency favors a stay because there is no reason for this Court to expend its time

   and resources if, in the end, Hornbeam never pays the BVI judgment and therefore cannot use any


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   discovery it obtains in new BVI proceedings. This would place the cart before the horse.

                                            CONCLUSION

           For the foregoing reasons, the Motion should be granted.

                                 LOCAL RULE 7.1 CERTIFICATION

           Pursuant to S.D. Fla. L.R. 7.1(a)(3), counsel for Movants certifies that it conferred with

   Hornbeam in a good faith effort to stay this matter, but Hornbeam objected. All subpoena

   recipients agree to a stay.




   Dated: April 6, 2016                                  Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

   filing using the CM/ECF filing system with the Clerk of the Court, which sent email notification

   of such filing to all CM/ECF participants in this case listed on the Service List on April 6, 2016.

                                                         /s/ Arnoldo B. Lacayo
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